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1     BRIAN M. BOYNTON
      Principal Deputy Assistant Attorney General
2
      Civil Division
3     WILLIAM C. PEACHEY
4     Director, District Court Section
      Office of Immigration Litigation
5     WILLIAM C. SILVIS
6     Assistant Director
      FIZZA BATOOL
7     JOSHUA C. MCCROSKEY
8     Trial Attorneys
      District Court Section
9
      Office of Immigration Litigation
10    P.O. Box 868, Ben Franklin Station
11    Washington, DC 20044
      Tel: (202) 616-4863
12    Fax: (202) 305-7000
13    Email: fizza.batool2@usdoj.gov

14    Attorneys for Defendants
15
                          UNITED STATES DISTRICT COURT
16                       CENTRAL DISTRICT OF CALIFORNIA
17                             WESTERN DIVISION
18
     JENNY LISETTE FLORES, et al.,              Case No. 2:85-cv-04544-DMG
19
20                Plaintiffs,                   SUPPLEMENTAL BRIEF IN
                                                SUPPORT OF MOTION TO
21         v.                                   TERMINATE THE FLORES
22                                              SETTLEMENT AGREEMENT AS
      MERRICK B. GARLAND, Attorney              TO THE U.S. DEPARTMENT OF
23    General of the United States, et al.,     HEALTH AND HUMAN
24                                              SERVICES
                  Defendants.
25                                              Hon. Dolly M. Gee
26
27
28
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1     I. INTRODUCTION
2           On June 21, 2024, the Court heard oral arguments regarding Defendants’
3     Motion to Terminate the Flores Settlement Agreement (“FSA” or “Agreement”) as
4     to the U.S. Department of Health and Human Services (“HHS”). During the hearing,
5     Defendants requested an opportunity to address the Court’s tentative ruling
6     concerning certain issues relating to secure, heightened supervision, and out-of-
7     network (“OON”) facilities. The Court granted Defendants’ request to provide
8     supplemental briefing to address the Court’s remaining concerns with respect to
9     termination of the FSA as to HHS. ECF No. 1441. As explained below, the
10    regulations at issue in the Unaccompanied Children Program Foundational Rule
11    (“Foundational Rule”), 89 Fed. Reg. 34,384 (Apr. 30, 2024) (to be codified at 45
12    C.F.R. pt. 410), are consistent with the FSA. This Court should therefore terminate
13    the FSA as to HHS in its entirety.
14
      II. ARGUMENT
15
            A. Under the Foundational Rule, Heightened Supervision Facilities May
16
               Only Be Used If There is Clear and Convincing Evidence That a Child
17             Needs Heightened Supervision, and Merely Engaging in Isolated or
18             Petty Offenses Would Not, Itself, Be a Basis for Such a Placement.

19          The Court expressed concern that under the Foundational Rule, an

20    unaccompanied child could be placed in a heightened supervision (medium security)

21    facility on the basis of isolated or petty offenses. The FSA does not specify the

22    permissible criteria for when a child should be placed in such a facility. However,

23    the Foundational Rule is explicit that the purpose of placing a child in such a facility

24    is because the child needs heightened supervision, that a child would be placed in

25    the facility only if the child meets the criteria for needing such supervision specified

26    in Section 410.1105(b)(2), and clear and convincing evidence supports that

27    determination as required by Section 410.1105(b)(1). Moreover, ORR would not

28    place a child in a heightened supervision facility if the child did not need heightened


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1     supervision, because doing so would be inconsistent with the FSA’s requirement
2     that children be placed in the least restrictive setting appropriate to their age and
3     special needs, see FSA ¶ 11, and with the TVPRA’s requirement, at 8 U.S.C.
4     §1232(c)(2), that children be placed in the least restrictive setting that is in their best
5     interest. See 45 C.F.R. § 410.1103(a).
6            The FSA defines “medium security facilities”—referred to in the
7     Foundational Rule as heightened supervision facilities—in part, as facilities for
8     children who may require additional supervision compared to children in less
9     restrictive placements, “but do not need placement in juvenile correctional
10    facilities.” FSA ¶ 8. Medium security facilities must be licensed by an appropriate
11    state agency and must meet the requirements of Exhibit 1. Further, Paragraph 8 states
12    that these facilities maintain stricter security measures and may have a secure
13    perimeter. This definition contrasts “medium security facilities” with placements in
14    “juvenile correctional facilities.” Id.
15           The Foundational Rule defines heightened supervision facilities in a manner
16    fully consistent with Paragraph 8 of the FSA. See 45 C.F.R. § 410.1001; see also 89
17    Fed. Reg. 34,442 (describing the purpose of heightened supervision facilities as
18    “provid[ing] care to unaccompanied children who require close supervision but do
19    not need placement at a secure facility, including an RTC.”). It separately defines
20    and provides placement criteria for “secure facilities,” consistent with other
21    provisions of the FSA. See, e.g., FSA ¶¶ 12.A, 21, 23.
22           Given the important differences between heightened supervision facilities
23    (i.e., medium security facilities) and secure placements, the Foundational Rule
24    separately describes factors for placement at secure and heightened supervision
25    facilities. See 45 C.F.R. §§ 410.1105(a) and 410.1105(b). In establishing criteria for
26    placement in heightened supervision facilities, the Foundational Rule differs from
27    the 2019 Rule (Apprehension, Processing, Care, and Custody of Alien Minors and
28    Unaccompanied Alien Children, 84 Fed. Reg. 44,392–535 (Aug. 23, 2019), which

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1     did not specify any criteria for placement of children in such facilities. This is
2     another protection provided by the Foundational Rule.
3           Section 410.1105(b)(1) provides that a placement in a heightened supervision
4     facility requires clear and convincing evidence, and Section 410.1105(b)(2)
5     describes criteria for such placements. Each criterion describes circumstances in
6     which there is a need for heightened supervision. Section 410.1105(b)(2)(iv),
7     describing one criterion, provides: “Has a non-violent criminal or delinquent history
8     not warranting placement in a secure facility, such as isolated or petty offenses as
9     described in paragraph (b)(2)(iii) of this section.” This language must be read in
10    conjunction with Section 410.1105(b)(2)(iii), which is expressly incorporated into
11    Section 410.1105(b)(2)(iv). And Section 410.1105(b)(2)(iii) states: “Has displayed
12    a pattern of severity of behavior, either prior to entering ORR custody or while in
13    ORR care, that requires an increase in supervision by trained staff[.]”
14          Read together, these provisions do not provide that isolated or petty offenses
15    alone are a justification for placement in a heightened supervision facility. Rather,
16    they explain that in some circumstances non-violent or delinquent offenses could
17    demonstrate a pattern of severity and behavior that prompts the need for heightened
18    supervision. This heighted supervision is important both for the well-being of the
19    child and the protection of others.
20          This reading is further consistent with both the FSA’s requirement that
21    children be placed in the least restrictive setting appropriate to their age and special
22    needs, FSA Paragraph 11, and the requirements of the TVPRA,1 as implemented at
23    Rule Sections 410.1103 and 1105.
24
25    1
         See 8 U.S.C. § 1232(c)(2) (“Subject to section 279(b)(2) of title 6, an
26    unaccompanied alien child in the custody of the Secretary of Health and Human
27    Services shall be promptly placed in the least restrictive setting that is in the best
      interest of the child. In making such placements, the Secretary may consider danger
28    to self, danger to the community, and risk of flight.”).

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1           The requirement that children must be placed in the least restrictive setting
2     that is in the best interest of the child is a fundamental principle informing ORR’s
3     administration of the Unaccompanied Children Program, is referenced multiple
4     times throughout the Preamble and text of the Foundational Rule, 2 and applies to
5     any use of heightened supervision facilities and any other restrictive settings. The
6     Foundational Rule is fully consistent with this requirement and likewise provides
7
8
9
10
      2
11      See, e.g., Foundational Rule Sections 410.1003(f); 1103(a); 1109(a)(2); 1601(a);
      1802(a). See also Preamble at 89 Fed. Reg. 34,403 (discussing circumstances in
12    which additional time may be needed to make an initial placement determination for
13    children when they are referred from other agencies); 89 Fed Reg. 34,410 (stating
      that ORR senior staff “must approve any [out-of-network] placement as the least
14
      restrictive setting appropriate for the child’s needs”); 89 Fed. Reg. 34,413 (“ORR
15    agrees that each unaccompanied child should be placed in the least restrictive setting
16    that is in the best interest of the child and appropriate to the unaccompanied child’s
      age and individualized needs, and that consideration of each child’s individualized
17    needs is a key component to ensuring their safety and welfare.”); 89 Fed. Reg.
18    34,422 (describing the purpose of Section 410.1104 of the Rule as “establish[ing]
      ORR’s obligation to place unaccompanied children in standard programs as opposed
19    to restrictive placements or emergency or influx facilities” except in delineated
20    circumstances); 89 Fed. Reg. 34,427 (stating that “in all cases where an
      unaccompanied child is placed in a secure facility (including an RTC), such a setting
21    must be the least restrictive setting that is in the best interests of the child and
22    appropriate to the child’s age and individualized needs”); 89 Fed. Reg. 34,493
      (describing limitations on the use of significant incident reports, based on the
23
      requirement to place children in the least restrictive setting); 89 Fed. Reg. 34,501
24    (describing the behavior management provisions of the Rule at Section 410.1304 as
25    being consistent with statutory responsibilities to place unaccompanied children in
      the least restrictive setting available that is in their best interest, among others); 89
26    Fed. Reg. 34,563 (describing review of ORR decisions under Subpart J as
27    “fundamental to ensuring unaccompanied children are placed in the least restrictive
      setting that is in their best interest while also considering the safety of others and
28    runaway risk”).

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1     critical due process protections to guard against inappropriate restrictive
2     placements. 3
3            B. Under the Foundational Rule, a Child May be Stepped Down From a
4               Secure Facility to a Non-Restrictive Facility; If Placement in a Secure
                Facility Is No Longer Justified, a Child May Be Placed in a Heightened
5
                Supervision Facility Only Based on Clear and Convincing Evidence.
6
            The Court expressed concern that under the Foundational Rule, a child in a
7
      secure facility could be stepped down only to a heightened supervision facility, and
8
      not to a standard program that is non-restrictive. However, under the Foundational
9
      Rule, a child may be stepped down to a heightened supervision facility or directly
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      to a shelter, whichever is the least restrictive setting in the child’s best interests, and
11
      consistent with other relevant considerations (e.g., ensuring the unaccompanied
12
      child’s timely appearance before the immigration courts and protecting the
13
      unaccompanied child’s well-being and that of others), as well as taking into account
14
      danger to self, danger to the community, and risk of flight, consistent with 8 U.S.C.
15    § 1232(c)(2).
16          As noted above, ORR is required to place children “in the least restrictive
17    setting appropriate to the minor’s age and special needs.” See FSA ¶ 11; see also 45
18    C.F.R. § 410.1103(a) (“ORR shall place each unaccompanied child in the least
19    restrictive setting that is in the best interest of the child and appropriate to the
20    unaccompanied child’s age and individualized needs…”). These requirements are
21    also consistent with the requirements of 8 U.S.C. § 1232(c)(2). For example, if after
22    initial placement of a child in a restrictive placement ORR learns of additional
23    information indicating that the child should be stepped down, ORR would transfer
24    the child to the least restrictive setting that is in the child’s best interests, based on
25
26    3
        If a child is placed in a heightened supervision facility, the Foundational Rule
27    requires that notice, administrative review, and an opportunity to challenge the
      placement be provided. See, e.g., §§ 410.1901 (restrictive placement case reviews),
28    410.1902 (placement review panel).

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1     its updated information. See 45 C.F.R. § 410.1601(a). Further, Section
2     410.1105(b)(1) expressly requires that any placement of a child in a heightened
3     supervision facility must be based on clear and convincing evidence documented in
4     the child’s case file, consistent with the Lucas R. preliminary injunction, Lucas R. v.
5     Becerra, No. 18-cv-05741, ECF No. 391, Step-Up Class, ¶ 2. (C.D. Cal.). These
6     same principles apply equally to initial placements and to stepping a child down from
7     a secure placement.
8           In other words, if a child is ready to be stepped down from a secure facility,
9     but continues to need additional supervision and support, the child may be stepped
10    down to a heightened supervision facility. In fact, a placement in a heightened
11    supervision facility can only be made if clear and convincing evidence supports such
12    a restrictive placement, and if clear and convincing evidence does not support such
13    a placement, a non-restrictive placement will be the appropriate placement. And,
14    notably, if a child is stepped down to a heightened supervision facility, the same due
15    process rights that apply to step-ups to any restrictive setting, such as notice,
16    administrative review, and an opportunity to challenge the placement, also apply to
17    step-downs to restrictive settings. See, e.g., §§ 410.1901 (restrictive placement case
18    reviews), 410.1902 (placement review panel).
19          C. Under the Foundational Rule, Any OON Placements in a Restrictive
20             Setting Are Subject to the Rule’s Requirements for Restrictive
               Settings.
21
            As this Court recognized in its tentative ruling, the FSA does not expressly
22
      address the placement of unaccompanied children in OON facilities, as use of these
23
      facilities was not part of program operations in 1997. However, “[o]ver time, ORR
24
      has found that there are certain rare circumstances where a child has specific needs
25
      that cannot be accommodated within ORR’s standard facilities and placement in an
26
      [OON] facility is necessary for the child to receive individualized specialized
27
      services.” See ECF No. 1435-1, Defs.’ Ex. D, Supplemental Declaration of Toby
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1     Biswas (“Biswas Suppl. Decl.”) ¶ 24. Therefore, the Foundational Rule addresses
2     placements in these OON facilities, which serve individuals other than just
3     unaccompanied children, and typically include hospitals, residential treatment
4     centers, and therapeutic shelters, among others. The Rule provides essential
5     procedural protections for the placement of children in them. Id.
6           While not all OON placements are restrictive, under the Foundational Rule,
7     OON placements in restrictive settings are subject to the very same requirements
8     that apply to ORR’s in-network restrictive placements. ORR will place an
9     unaccompanied child in an OON facility only if the federal field specialist and their
10    supervisor approve the placement as the least restrictive placement in the child’s best
11    interest. Biswas Suppl. Decl. ¶ 26 (citing 89 Fed. Reg. 34,410). Importantly, as ORR
12    explained in the Preamble, any OON restrictive placement would need to satisfy the
13    criteria for placement or transfer to the same level of restrictive placement (secure,
14    heightened supervision, or residential treatment center) within ORR’s network. 89
15    Fed. Reg. 34,410. This includes, for secure OON placements, secure placement
16    criteria codified at Section 410.1105, which are fully consistent with Paragraph 21
17    of the FSA. Id. Additionally, the same due process rights that apply to
18    unaccompanied children placed in restrictive placements in ORR’s network such as
19    notice, administrative review, and an opportunity to request reconsideration of the
20    placement, likewise apply to children placed in restrictive placements that are out-
21    of-network. See, e.g., 45 C.F.R. §§ 410.1901 (restrictive placement case reviews),
22    410.1902 (placement review panel).
23          With respect to out-of-network residential treatment centers (“OON RTC”),
24    in particular, ORR has explained that, pursuant to Section 410.1105(c)(2), ORR will
25    place an unaccompanied child at an OON RTC only “when a licensed clinical
26    psychologist or psychiatrist consulted by ORR or a care provider facility has
27    determined that the unaccompanied child requires a level of care only found in an
28    OON RTC (either because the unaccompanied child has identified needs that cannot

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1     be met within the ORR network of RTCs or no placements are available within
2     ORR’s network of RTCs), or that an OON RTC would best meet the unaccompanied
3     child’s identified needs.” 89 Fed. Reg. 34,409. And consistent with the preliminary
4     injunction in Lucas R., ECF No. 391, Step-Up Class, ¶ 1, Section 410.1105(c)(2)
5     specifically states that the criteria for placement in or transfer to RTCs within the
6     ORR network apply to placement or transfer to OON RTCs. Id.
7
      III.   CONCLUSION
8
             For all the above reasons and those articulated in Defendants’ prior briefing,
9
      the Court should terminate the FSA as to HHS in its entirety.
10
11
      Dated: June 24, 2024                   Respectfully submitted,
12
                                             BRIAN M. BOYNTON
13                                           Principal Deputy Assistant Attorney General
14                                           Civil Division
                                             WILLIAM C. PEACHEY
15                                           Director, District Court Section
16                                           Office of Immigration Litigation
                                             WILLIAM C. SILVIS
17
                                             Assistant Director, District Court Section
18                                           Office of Immigration Litigation
19
                                             /s/ Fizza Batool
20                                           FIZZA BATOOL
21                                           JOSHUA C. MCCROSKEY
                                             Trial Attorneys
22                                           U.S. Department of Justice
23                                           Office of Immigration Litigation
                                             District Court Section
24                                           P.O. Box 868, Ben Franklin Station
25                                           Washington, DC 20044
                                             Tel: (202) 616-4863
26
                                             Email: fizza.batool2@usdoj.gov
27
28                                           Attorneys for Defendants


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1                             CERTIFICATE OF SERVICE
2           I certify that on June 24, 2024, I served a copy of the foregoing pleading on
3     all counsel of record by means of the District Court’s CM/ECF electronic filing
4     system.
5
6                                           /s/ Fizza Batool
                                            FIZZA BATOOL
7
                                            Trial Attorney
8                                           U.S. Department of Justice
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